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                                      Exhibit A

                                    Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                                 (Jointly Administered)
                                        1
                              Debtors.
                                                             Ref. Docket No. ____

                            ORDER GRANTING
      MODIFIED EMERGENCY MOTION OF THE OFFICIAL COMMITTEE OF TORT
                 CLAIMANTS REGARDING PLAN VOTING ISSUES



             Upon the modified emergency motion regarding plan voting (the “Motion”) of the

Official Committee of Tort Claimants (the ”TCC”) to Boy Scouts of America (“BSA”) and

Delaware BSA, LLC, the nonprofit corporations that are debtors and debtors in possession in the

above-captioned chapter 11 cases (together, the “Debtors”), for relief as set forth in the Motion;

and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. § 1334(b) and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and consideration of

the Motion and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

proper notice of the Motion having been provided, and it appearing that no other or further notice

need be provided; and this Court having held a hearing to consider the relief requested in the

Motion and other related issues; and the Court having determined that the legal and factual bases

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    The Debtors in these Chapter 11 Cases, together with the last four digits of Debtors’ federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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set forth in the Motion establish just cause for the relief granted herein; and it appearing that the

relief requested in the Motion is in the best interests of the Debtors, their estates, creditors, and all

parties in interest; and upon all of the proceedings had before the Court and after due deliberation

and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       The three AIS law firms consisting of Eisenberg Rothweiler, Winkler, Eisenberg

& Jeck, P.C., AVA Law and Kosnoff Law are directed to distribute a joint communication to

each of their jointly represented clients providing a recommendation from each of the firms with

respect to whether to vote to accept or reject the Plan.

        3.       The letters described in Paragraph 2 shall be accompanied by an explanatory

cover letter, in form as shown in Exhibit B to the Motion, showing the need for and purpose of

the communication (the “Joint Communication”). The Joint Communication shall include:

                 a.          Plain language one-page position papers and recommendations on whether

                             to vote to accept or reject the Plan issued from each AIS law firm,

                 b.          Information on how to obtain a ballot from the Balloting Agent or via the

                             AIS firms for claimants that have not previously submitted a ballot, and

                 c.          An express invitation to each AIS client to contact any or all of the AIS

                             firms for advice with respect to these matters.

        4.       The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




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